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Attorney for Plaintiffs Gilead Sciences, Inc. and Emory University


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 GILEAD SCIENCES, INC. and
 EMORY UNIVERSITY,

                Plaintiffs,

        v.                                      Civil Action No.:

 ZYDUS PHARMACEUTICALS (USA)                    Electronically Filed
 INC. and CADILA HEALTHCARE LTD.
 (d/b/a ZYDUS CADILA),

                Defendants.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Gilead Sciences, Inc. (“Gilead”) and Emory University (“Emory”) (collectively,

“Plaintiffs”), for their complaint against Defendants Zydus Pharmaceuticals (USA) Inc.

(“Zydus”) and Cadila Healthcare Ltd. (d/b/a Zydus Cadila) (“Cadila”) (Zydus and Cadila are

referred to collectively as “Defendants”), hereby allege as follows:

                                        Nature of Action

       1.      This is an action for patent infringement under the patent laws of the United

States, Title 35 of the United States Code.
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                                            The Parties

          2.   Gilead is a corporation organized and existing under the laws of the State of

Delaware, having a principal place of business at 333 Lakeside Drive, Foster City, California

94404.

          3.   Emory is a non-profit corporation of the State of Georgia, having an office at

201 Dowman Drive, Atlanta, Georgia 30322.

          4.   On information and belief, Zydus is a New Jersey corporation, having a principal

place of business at 73 Route 31 North, Pennington, New Jersey 08534 and is a wholly owned

agent or affiliate of Cadila, is controlled and/or dominated by Cadila, and is acting as the agent

of Cadila with respect to Abbreviated New Drug Application (“ANDA”) No. 212689.

          5.   On information and belief, Cadila is an Indian corporation, having a principal

place of business at Zydus Tower, Satellite Cross Roads, Ahmedabad-380015, Gujarat, India.

                                     Jurisdiction and Venue

          6.   This action arises under the Patent Laws of the United States and the Food and

Drug Laws of the United States, Titles 35 and 21 of the United States Code. Jurisdiction is based

on 28 U.S.C. §§ 1331 and 1338(a).

          7.   On information and belief, this Court has personal jurisdiction over Zydus and

Cadila.

          8.   On information and belief, Zydus and Cadila are generic pharmaceutical

companies in the business of marketing and distributing generic drug products, and derive

substantial revenue from selling various pharmaceutical drug products and doing business

throughout the United States, including in New Jersey.




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        9.      On information and belief, Zydus and Cadila, themselves or through their wholly-

owned subsidiaries or affiliates, manufacture pharmaceutical drug products that are sold and

used throughout the United States, including in New Jersey.

        10.     On information and belief, residents of New Jersey purchase pharmaceutical drug

products from Defendants in New Jersey.

        11.     On information and belief, Zydus is registered with the State of New Jersey to do

business as a domestic corporation in New Jersey as of November 18, 2003, under Entity ID

0100915422, is a wholly owned agent or affiliate of Cadila, is controlled and/or dominated by

Cadila, and is acting as the agent of Cadila with respect to ANDA No. 212689.

        12.     On information and belief, Zydus is registered with the State of New Jersey

Department of Health as a drug wholesaler under registration number 5003171.

        13.     On information and belief, Zydus’ submission of ANDA No. 212689, discussed

below, indicates Defendants’ intention to engage in the commercial manufacture, use, sale and/or

importation of products that will compete directly with Gilead’s Truvada® product(s), which is

currently being sold throughout the United States, including in New Jersey. On information and

belief, Defendants will sell: (1) tablets containing 100 mg of emtricitabine and 150 mg of

tenofovir disoproxil fumarate, (2) tablets containing 133 mg of emtricitabine and 200 mg of

tenofovir disoproxil fumarate, (3) tablets containing 167 mg of emtricitabine and 250 mg of

tenofovir disoproxil fumarate, and (4) tablets containing 200 mg of emtricitabine and 300 mg of

tenofovir disoproxil fumarate for the use for which Defendants seek approval in ANDA No.

212689, if approved, throughout the United States, including in New Jersey.

        14.     On information and belief, Zydus and Cadila have previously consented to

personal jurisdiction in this District[EO1].




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          15.   Venue is proper in this District under 28 U.S.C. § 1391(b), (c), (d), and 28 U.S.C.

§ 1400(b). Specifically, venue is proper in New Jersey because Zydus is incorporated in New

Jersey.

                                           Background

          16.   Gilead is the holder of New Drug Application (“NDA”) No. 21-752 which relates

to tablets containing 200 mg of emtricitabine and 300 mg of tenofovir disoproxil fumarate. On

August 2, 2004, the United States Food and Drug Administration (“FDA”) approved the use of

the tablets described in NDA No. 21-752 for the treatment of HIV-1 infection in adults. These

tablets are prescribed and sold in the United States under the trademark Truvada®. On March

10, 2016, the FDA approved Truvada® in the following emtricitabine/tenofovir disoproxil

fumarate dosage strengths for the treatment of HIV-1 infection in pediatric patients:

167mg/250mg, 133mg/200mg, and 100mg/150mg (“low dosage strengths”).

          17.   United States Patent No. 6,642,245 (“the ’245 Patent,” copy attached as Exhibit

A), entitled “Antiviral Activity and Resolution of 2-Hydroxymethyl-5-(5-fluorocytosin-1-yl) -

1,3-oxathiolane,” was duly and legally issued by the United States Patent and Trademark Office

on November 4, 2003. The ’245 Patent claims, inter alia, methods for treating HIV infection in

humans with emtricitabine (one of the active ingredients in Truvada®), and is listed in the

Approved Drug Products with Therapeutic Equivalence Evaluations (“FDA Orange Book”) for

Truvada®.

          18.   United States Patent No. 6,703,396 (“the ’396 Patent,” copy attached as Exhibit

B), entitled “Method of Resolution and Antiviral Activity of 1,3-Oxathiolane Nucleoside

Enantiomers,” was duly and legally issued by the United States Patent and Trademark Office on

March 9, 2004. The ’396 Patent claims, inter alia, emtricitabine (one of the active ingredients in

Truvada®), and is listed in the FDA Orange Book for Truvada®.


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       19.     United States Patent No. 8,592,397 (“the ’397 Patent,” copy attached as Exhibit

C), entitled “Compositions and Methods for Combination Antiviral Therapy” was duly and

legally issued by the United States Patent and Trademark Office on November 26, 2013. The

’397 Patent claims, inter alia, a pharmaceutical combination tablet containing emtricitabine and

tenofovir disoproxil fumarate (the two active ingredients in Truvada®) and methods for treating

HIV infection in humans with the emtricitabine and tenofovir disoproxil fumarate combination.

The ’397 Patent is also listed in the FDA Orange Book for Truvada®.

       20.     United States Patent No. 8,716,264 (“the ’264 Patent,” copy attached as Exhibit

D), entitled “Compositions and Methods for Combination Antiviral Therapy,” was duly and

legally issued by the United States Patent and Trademark Office on May 6, 2014. The ’264

Patent claims, inter alia, a pharmaceutical combination tablet containing emtricitabine and

tenofovir disoproxil fumarate (the two active ingredients in Truvada®) and methods for treating

HIV infection in humans with the emtricitabine and tenofovir disoproxil fumarate combination.

The ’264 Patent is also listed in the FDA Orange Book for Truvada®.

       21.     United States Patent No. 9,457,036 (“the ’036 Patent,” copy attached as Exhibit

E), entitled “Compositions and Methods for Combination Antiviral Therapy,” was duly and

legally issued by the United States Patent and Trademark Office on October 4, 2016. The ’036

Patent claims, inter alia, a pharmaceutical combination tablet containing emtricitabine and

tenofovir disoproxil fumarate (the two active ingredients in Truvada®) and methods for treating

HIV infection in humans with the emtricitabine and tenofovir disoproxil fumarate combination.

The ’036 Patent is also listed in the FDA Orange Book for Truvada®.

       22.     United States Patent No. 9,744,181 (“the ’181 Patent,” copy attached as Exhibit

F), entitled Compositions and Methods for Combination Antiviral Therapy,” was duly and




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legally issued by the United States Patent and Trademark Office on August 29, 2017. The ’181

Patent claims, inter alia, a fixed-dose pharmaceutical combination tablet containing

emtricitabine and tenofovir disoproxil fumarate (the two active ingredients in Truvada®) and

methods for treating HIV infection in humans with the emtricitabine and tenofovir disoproxil

fumarate combination. The ’181 Patent is also listed in the FDA Orange Book for Truvada®.

       23.     Emtricitabine is a compound that has a molecular formula of C8H10FN3O3S, and

which has the following chemical structure:




       24.     Emtricitabine can be referred to by any of several chemical names. The chemical

name given to emtricitabine in the Truvada® label is “5-fluoro-1-[(2R,5S)-2-(hydroxymethyl)-

1,3-oxathiolan-5-yl]cytosine.” Two chemical names recited for emtricitabine in the ʼ245 Patent

are “(–)-β-L-2-hydroxymethyl-5-(5-fluorocytosin-1-yl) -1,3-oxathiolane” and “β-L-2-

hydroxymethyl-5-(5-fluorocytosin-1-yl)-1,3-oxathiolane.” Two chemical names recited for

emtricitabine in the ’396 Patent are “(–)-cis-4-amino-5-fluoro-

1-(2-hydroxymethyl-1,3-oxathiolane-5-yl)-(1H)-pyrimidin-2-one” and “(–)-enantiomer of cis-4-

amino-5-fluoro-1-(2-hydroxymethyl-1,3-oxathiolane-5-yl)-(1H)-pyrimidin-2-one.”

       25.     The named inventors on the ’245 and ’396 Patents are Dennis C. Liotta, Raymond

F. Schinazi, and Woo-Baeg Choi.

       26.     Dennis C. Liotta, Raymond F. Schinazi, and Woo-Baeg Choi assigned the ’245

and ’396 Patents to Emory.

       27.     Pursuant to an agreement entered into between Gilead and Emory, Gilead has

substantial rights in the ’245 and ’396 Patents, including, but not limited to, rights associated


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with being a licensee of the ’245 and ’396 Patents, and the right to sue for infringement of the

’245 and ’396 Patents.

       28.       The named inventors on the ’397, ’264, ’036, and ’181 Patents are Terrence C.

Dahl, Mark M. Menning, and Reza Oliyai.

       29.       Terrence C. Dahl, Mark M. Menning and Reza Oliyai assigned the ’397, ’264,

’036, and ’181 Patents to Gilead.

                                           COUNT 1
                            Infringement of U.S. Patent No. 6,642,245

       30.       Plaintiffs repeat and reallege paragraphs 1-29 above as if set forth herein.

       31.       On information and belief, Defendants submitted or caused to be submitted

ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

sale and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

150/200/250/300 mg of tenofovir disoproxil fumarate for the purpose of treating HIV infection.

       32.       By letter dated December 3, 2018, pursuant to 21 U.S.C. § 355(j)(2)(B)(ii) (the

“December 3, 2018 Notice Letter”), Defendants notified Plaintiffs that they had submitted

ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

sale and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

150/200/250/300 mg of tenofovir disoproxil fumarate prior to the expiration of the ’245 Patent.

This complaint has been filed within 45 days of Plaintiffs’ receipt of the December 3, 2018

Notice Letter.

       33.       In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

part of ANDA No. 212689, they had filed a certification of the type described in 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) (“Paragraph IV”) with respect to the ’245 Patent. Paragraph IV requires,

inter alia, certification by the ANDA applicant, in its opinion and to the best of its knowledge,



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that the subject patent, here the ’245 Patent, “is invalid or will not be infringed by the

manufacture, use or sale of the new drug for which the application is submitted . . . .” The

statute (21 U.S.C. § 355(j)(2)(B)(iv)(II)) also requires a Paragraph IV Notice Letter to “include a

detailed statement of the factual and legal basis of the opinion of the applicant that the patent is

invalid or will not be infringed.” The FDA Rules and Regulations (21 C.F.R. § 314.95(c)(6))

further require that the detailed statement include “(i) [f]or each claim of a patent alleged not to

be infringed, a full and detailed explanation of why the claim is not infringed” and “(ii) [f]or

each claim of a patent alleged to be invalid or unenforceable, a full and detailed explanation of

the grounds supporting the allegations.”

       34.     Defendants alleged in their December 3, 2018 Notice Letter that all claims of the

’245 Patent are invalid and would not be infringed by the commercial manufacture, use, sale

and/or importation of their proposed product that is the subject of ANDA No. 212689.

       35.     By filing ANDA 212689 under 21 U.S.C. § 355(j) for the purposes of obtaining

approval to engage in the commercial manufacture, use, sale and/or importation of tablets

containing 100/133/167/200 mg of emtricitabine and 150/200/250/300 mg of tenofovir

disoproxil fumarate before the ’245 Patent’s expiration, Defendants have committed an act of

infringement of the ’245 Patent under 35 U.S.C. § 271(e)(2).

       36.     Defendants’ submission of ANDA No. 212689 and service of the December 3,

2018 Notice Letter indicates a refusal to change their current course of action.

       37.     On information and belief, the commercial manufacture, use, sale and/or

importation of tablets containing 100/133/167/200 mg of emtricitabine and 150/200/250/300 mg

of tenofovir disoproxil fumarate for which Defendants seek approval in ANDA No. 212689, if

approved, will infringe one or more claims of the ’245 Patent.




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       38.     On information and belief, Defendants will directly or indirectly infringe at least

Claim 1 of the ʼ245 Patent. Claim 1 recites a “method for treating HIV infection in humans

comprising administering an effective amount of [emtricitabine], or its physiologically

acceptable salt, optionally in a pharmaceutically acceptable carrier.” On information and belief,

Defendants will infringe Claim 1 of the ʼ245 Patent because the product for which they seek

approval in ANDA No. 212689 will be labeled for and used to treat HIV infection in humans

with an effective amount of emtricitabine. For the same reasons, on information and belief,

Defendants will likewise infringe Claims 2, 4, 6, 7 and 8 of the ʼ245 Patent.

       39.     On information and belief, the tablets containing 100/133/167/200 mg of

emtricitabine and 150/200/250/300 mg of tenofovir disoproxil fumarate for the use for which

Defendants seek approval in ANDA No. 212689, if approved, will be administered to human

patients in an effective amount for treating HIV infection. Such administration will infringe at

least one claim of the ’245 Patent, as described in the preceding paragraph. On information and

belief, this administration will occur at Defendants’ active behest and with their intent,

knowledge, and encouragement. On information and belief, Defendants will actively encourage,

aid, and abet this administration with knowledge that it is in contravention of Plaintiffs’ rights

under the ’245 Patent. Further, by filing ANDA No. 212689 with a Paragraph IV certification,

Defendants admit knowledge of the ’245 Patent.

                                          COUNT 2
                           Infringement of U.S. Patent No. 6,703,396

       40.     Plaintiffs repeat and reallege paragraphs 1-39 above as if set forth herein.

       41.     On information and belief, Defendants submitted or caused to be submitted

ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,




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 sale and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

 150/200/250/300 mg of tenofovir disoproxil fumarate for the purpose of treating HIV infection.

         42.      In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that they

 had submitted ANDA No. 212689 to the FDA seeking approval to engage in the commercial

 manufacture, use, sale and/or importation of tablets containing 100/133/167/200 mg of

 emtricitabine and 150/200/250/300 mg of tenofovir disoproxil fumarate prior to the expiration of

 the ’396 Patent. This complaint has been filed within 45 days of Plaintiffs’ receipt of the

 December 3, 2018 Notice Letter.

         43.      In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

 part of their ANDA No. 212689, they had filed a Paragraph IV certification with respect to the

 ’396 Patent. Paragraph IV requires, inter alia, certification by the ANDA applicant, in its

 opinion and to the best of its knowledge, that the subject patent, here the ’396 Patent, “is invalid

 or will not be infringed by the manufacture, use or sale of the new drug for which the application

 is submitted . . . .”

         44.      Defendants alleged in their December 3, 2018 Notice Letter that all claims of the

 ’396 Patent are invalid and that Claims 8-11, 17-21, and 24-28 would not be infringed by the

 commercial manufacture, use, sale and/or importation of their proposed product that is the

 subject of ANDA No. 212689.

         45.      The December 3, 2018 Notice Letter does not allege non-infringement of Claims

 1-7, 12-16, 22 and 23 of the ’396 Patent.

         46.      By filing ANDA No. 212689 under 21 U.S.C. § 355(j) for the purposes of

 obtaining approval to engage in the commercial manufacture, use, sale and/or importation of

 tablets containing 100/133/167/200 mg of emtricitabine and 150/200/250/300 mg of tenofovir




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 disoproxil fumarate before the ’396 Patent’s expiration, Defendants have committed an act of

 infringement of the ’396 Patent under 35 U.S.C. § 271(e)(2).

        47.     Defendants’ submission of ANDA No. 212689 and service of the December 3,

 2018 Notice Letter indicates a refusal to change their current course of action.

        48.     On information and belief, the commercial manufacture, use, sale and/or

 importation of tablets containing 100/133/167/200 mg of emtricitabine and 150/200/250/300 mg

 of tenofovir disoproxil fumarate for which Defendants seek approval in ANDA No. 212689, if

 approved, will infringe one or more claims of the ’396 Patent.

        49.     On information and belief, Defendants will directly or indirectly infringe at least

 Claim 2 of the ʼ396 Patent. Claim 2 recites “[emtricitabine] or a pharmaceutically acceptable

 salt, ester or salt of an ester thereof.” On information and belief, Defendants will infringe Claim

 2 of the ʼ396 Patent because the product for which they seek approval in ANDA No. 212689 will

 contain emtricitabine as the active ingredient. In their December 3, 2018 Notice Letter,

 Defendants do not allege that Claim 2 would not be infringed by the commercial manufacture,

 use, sale, offer for sale, and/or importation of their proposed product that is the subject of ANDA

 No. 212689. For the same reasons, on information and belief, Defendants will also infringe

 Claims 1, 3-7, 12-16, 22, and 23 of the ’396 Patent.

        50.     On information and belief, the tablets containing 100/133/167/200 mg of

 emtricitabine and 150/200/250/300 mg of tenofovir disoproxil fumarate for the use for which

 Defendants seek approval in ANDA No. 212689, if approved, will infringe at least one claim of

 the ’396 Patent, as described in the preceding paragraph. On information and belief, the

 manufacture of these tablets will occur at Defendants’ active behest and with their intent,

 knowledge, and encouragement. On information and belief, Defendants will actively encourage,




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 aid, and abet the manufacture of these tablets with knowledge that it is in contravention of

 Plaintiffs’ rights under the ’396 Patent. Further, by filing ANDA No. 212689 with a Paragraph

 IV certification, Defendants admit knowledge of the ’396 Patent.

                                            COUNT 3
                             Infringement of U.S. Patent No. 8,592,397

         51.     Plaintiffs repeat and reallege paragraphs 1-50 above as if set forth herein.

         52.     On information and belief, Defendants submitted or caused to be submitted

 ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

 sale and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

 150/200/250/300 mg of tenofovir disoproxil fumarate for the purpose of treating HIV infection.

         53.     In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that they

 had submitted ANDA No. 212689 to the FDA seeking approval to engage in the commercial

 manufacture, use, sale and/or importation of tablets containing, inter alia, 200 mg of

 emtricitabine and 300 mg of tenofovir disoproxil fumarate prior to the expiration of the ’397

 Patent. This complaint has been filed within 45 days of Plaintiffs’ receipt of the December 3,

 2018 Notice Letter.

         54.     In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

 part of ANDA No. 212689, they had filed a Paragraph IV certification with respect to the ’397

 Patent. Paragraph IV requires, inter alia, certification by the ANDA applicant, in its opinion and

 to the best of its knowledge, that the subject patent, here the ’397 Patent, “is invalid or will not

 be infringed by the manufacture, use or sale of the new drug for which the application is

 submitted . . . .”




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        55.     Defendants alleged in their December 3, 2018 Notice Letter that all claims of the

 ’397 Patent would not be infringed by the commercial manufacture, use, sale, and/or importation

 of their proposed product that is the subject of ANDA No. 212689.

        56.     Defendants took no position regarding the validity of the claims of the ’397 Patent

 in their December 3, 2018 Notice Letter.

        57.     By filing ANDA No. 212689 under 21 U.S.C. § 355(j) for the purposes of

 obtaining approval to engage in the commercial manufacture, use, sale, and/or importation of

 tablets containing, inter alia, 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate before the ’397 Patent’s expiration, Defendants have committed an act of infringement

 of the ’397 Patent under 35 U.S.C. § 271(e)(2).

        58.     Defendants’ submission of ANDA No. 212689 and service of the December 3,

 2018 Notice Letter indicates a refusal to change their current course of action.

        59.     On information and belief, the commercial manufacture, use, sale, and/or

 importation of tablets containing 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate for which Defendants seek approval in ANDA No. 212689, if approved, will infringe

 one or more claims of the ’397 Patent.

        60.     On information and belief, Defendants will directly or indirectly infringe at least

 Claim 1 of the ʼ397 Patent. Claim 1 recites a “chemically stable fixed dose combination

 pharmaceutical dosage form comprising 300 mg tenofovir disoproxil fumarate and 200 mg

 emtricitabine; a binder selected from the group consisting of povidone, gelatin, hydroxypropyl

 methylcellulose, cellulose, microcrystalline cellulose, starch, and acacia; a disintegrant selected

 from sodium starch glycolate, crosslinked-povidone, cross-linked sodium

 carboxymethylcellulose, and alginic acid; and a lubricant selected from the group consisting of




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 magnesium stearate, stearic acid, and talc; wherein said pharmaceutical dosage form exhibits less

 than 10% degradation of the tenofovir disoproxil fumarate or emtricitabine after 6 months when

 packaged and stored with silica gel dessicant at 40° C./75% relative humidity.” On information

 and belief, Defendants will infringe Claim 1 of the ʼ397 Patent because one of the products for

 which they seek approval in ANDA No. 212689 will be a chemically stable, fixed-dose tablet

 containing 300 mg of tenofovir disoproxil fumarate and 200 mg emtricitabine, and at least one of

 each enumerated binder, disintegrant, and lubricant, or an equivalent thereof, and will exhibit

 less than 10% degradation of the tenofovir disoproxil fumarate or emtricitabine after six months

 when packaged and stored with silica gel dessicant at 40° C./75% relative humidity. For the

 same reasons, on information and belief, Defendants will also infringe other claims of the ’397

 Patent.

           61.   On information and belief, the tablets containing 200 mg of emtricitabine and 300

 mg of tenofovir disoproxil fumarate for the use for which Defendants seek approval in ANDA

 No. 212689, if approved, will infringe at least one claim of the ’397 Patent, as described in the

 preceding paragraph. On information and belief, the manufacture of these tablets and use of

 these tablets to treat HIV infection will occur at Defendants’ active behest and with their intent,

 knowledge, and encouragement. On information and belief, Defendants will actively encourage,

 aid, and abet the manufacture of these tablets and use of these tablets to treat HIV infection with

 knowledge that it is in contravention of Gilead’s rights under the ’397 Patent. Further, by filing

 ANDA No. 212689 with a Paragraph IV certification, Defendants admit knowledge of the ’397

 Patent.

                                           COUNT 4
                            Infringement of U.S. Patent No. 8,716,264

           62.   Plaintiffs repeat and reallege paragraphs 1-61 above as if set forth herein.



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         63.      On information and belief, Defendants submitted or caused to be submitted

 ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

 sale, and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

 150/200/250/300 mg of tenofovir disoproxil fumarate for the purpose of treating HIV infection.

         64.      In thier December 3, 2018 Notice Letter, Defendants notified Plaintiffs that they

 had submitted ANDA No. 212689 to the FDA seeking approval to engage in the commercial

 manufacture, use, sale, and/or importation of tablets containing, inter alia, 200 mg of

 emtricitabine and 300 mg of tenofovir disoproxil fumarate prior to the expiration of the ’264

 Patent. This complaint has been filed within 45 days of Plaintiffs’ receipt of the December 3,

 2018 Notice Letter.

         65.      In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

 part of their ANDA No. 212689, they had filed a Paragraph IV certification with respect to the

 ’264 Patent. Paragraph IV requires, inter alia, certification by the ANDA applicant, in its

 opinion and to the best of its knowledge, that the subject patent, here the ’264 Patent, “is invalid

 or will not be infringed by the manufacture, use or sale of the new drug for which the application

 is submitted . . . .”

         66.      Defendants alleged in their December 3, 2018 Notice Letter that Claims 1-18 and

 25-38 of the ’264 Patent are invalid and that Claims 18-24, 26-32, and 35-38 would not be

 infringed by the commercial manufacture, use, sale, and/or importation of their proposed product

 that is the subject of ANDA No. 212689.

         67.      The December 3, 2018 Notice Letter does not allege non-infringement of Claims

 1-17, 25, 33, and 34 of the ’264 Patent.




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        68.     By filing ANDA No. 212689 under 21 U.S.C. § 355(j) for the purposes of

 obtaining approval to engage in the commercial manufacture, use, sale, and/or importation of

 tablets containing, inter alia, 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate before the ’264 Patent’s expiration, Defendants have committed an act of infringement

 of the ’264 Patent under 35 U.S.C. § 271(e)(2).

        69.     Defendants’ submission of ANDA No. 212689 and service of the December 3,

 2018 Notice Letter indicates a refusal to change their current course of action.

        70.     On information and belief, the commercial manufacture, use, sale and/or

 importation of tablets containing 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate for which Defendants seek approval in ANDA No. 212689, if approved, will infringe

 one or more claims of the ’264 Patent.

        71.     On information and belief, Defendants will directly or indirectly infringe at least

 Claim 1 of the ʼ264 Patent. Claim 1 recites a “chemically stable fixed-dose combination

 comprising 300 mg of tenofovir disoproxil fumarate and 200 mg of emtricitabine wherein the

 combination exhibits less than 10% degradation of the tenofovir disoproxil fumarate and

 emtricitabine after six months at 40° C./75% relative humidity when packaged and stored with

 silica gel dessicant at 40° C./70% relative humidity.”1 On information and belief, Defendants

 will infringe Claim 1 of the ʼ264 Patent because one of the products for which they seek

 approval in ANDA No. 212689 will be a chemically stable, fixed-dose tablet containing 300 mg

 of tenofovir disoproxil fumarate and 200 mg of emtricitabine and will exhibit less than 10%

 degradation of tenofovir disoproxil fumarate and emtricitabine after six months at 40° C./75%



 1
   Claim 1 contains a clear typographical error in stating “70% relative humidity” in the last
 clause rather than “75% relative humidity.” Plaintiff Gilead will request that the Court correct
 this error.

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 relative humidity when packaged and stored with silica gel dessicant at 40° C./70% relative

 humidity. In their December 3, 2018 Notice Letter, Defendants do not allege that Claim 1 would

 not be infringed by the commercial manufacture, use, sale, offer for sale and/or importation of

 their proposed product that is the subject of ANDA No. 212689. For the same reasons, on

 information and belief, Defendants will also infringe at least Claims 2-17, 25, 33, and 34 of the

 ’264 Patent.

           72.   On information and belief, the tablets containing 200 mg of emtricitabine and 300

 mg of tenofovir disoproxil fumarate for the use for which Defendants seek approval in ANDA

 No. 212689, if approved, will infringe at least one claim of the ’264 Patent, as described in the

 preceding paragraph. On information and belief, the manufacture of these tablets and use of

 these tablets to treat HIV infection will occur at Defendants’ active behest and with their intent,

 knowledge, and encouragement. On information and belief, Defendants will actively encourage,

 aid, and abet the manufacture of these tablets and use of these tablets to treat HIV infection with

 knowledge that it is in contravention of Gilead’s rights under the ’264 Patent. Further, by filing

 ANDA No. 212689 with a Paragraph IV certification, Defendants admit knowledge of the ’264

 Patent.

                                           COUNT 5
                            Infringement of U.S. Patent No. 9,457,036

           73.   Plaintiffs repeat and reallege paragraphs 1-72 above as if set forth herein.

           74.   On information and belief, Defendants submitted or caused to be submitted

 ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

 sale, and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

 150/200/250/300 mg of tenofovir disoproxil fumarate for the purpose of treating HIV infection.




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         75.     In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that they

 had submitted ANDA No. 212689 to the FDA seeking approval to engage in the commercial

 manufacture, use, sale, and/or importation of tablets containing, inter alia, 200 mg of

 emtricitabine and 300 mg of tenofovir disoproxil fumarate prior to the expiration of the ’036

 Patent. This complaint has been filed within 45 days of Plaintiffs’ receipt of the December 3,

 2018 Notice Letter.

         76.     In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

 part of ANDA No. 212689, they had filed a Paragraph IV certification with respect to the ’036

 Patent. Paragraph IV requires, inter alia, certification by the ANDA applicant, in its opinion and

 to the best of its knowledge, that the subject patent, here the ’036 Patent, “is invalid or will not

 be infringed by the manufacture, use or sale of the new drug for which the application is

 submitted . . . .”

         77.     Defendants alleged in their December 3, 2018 Notice Letter that all claims of the

 ’036 Patent would not be infringed by the commercial manufacture, use, sale, and/or importation

 of their proposed product that is the subject of ANDA No. 212689.

         78.     Defendants took no position regarding the validity of the claims of the ’036 Patent

 in their December 3, 2018 Notice Letter.

         79.     By filing ANDA No. 212689 under 21 U.S.C. § 355(j) for the purposes of

 obtaining approval to engage in the commercial manufacture, use, sale, and/or importation of

 tablets containing, inter alia, 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate before the ’036 Patent’s expiration, Defendants have committed an act of infringement

 of the ’036 Patent under 35 U.S.C. § 271(e)(2).




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        80.     Defendants’ submission of ANDA No. 212689 and service of the December 3,

 2018 Notice Letter indicates a refusal to change their current course of action.

        81.     On information and belief, the commercial manufacture, use, sale, and/or

 importation of tablets containing 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate for which Defendants seek approval in ANDA No. 212689, if approved, will infringe

 one or more claims of the ’036 Patent.

        82.     On information and belief, Defendants will directly or indirectly infringe at least

 Claim 1 of the ʼ036 Patent. Claim 1 recites a “fixed dose combination pharmaceutical dosage

 form comprising 300 mg tenofovir disoproxil fumarate and 200 mg emtricitabine; a binder

 selected from the group consisting of povidone, gelatin, hydroxypropyl methylcellulose,

 cellulose, microcrystalline cellulose, starch, and acacia; a disintegrant selected from sodium

 starch glycolate, crosslinked-povidone, cross-linked sodium carboxymethylcellulose, and alginic

 acid; and a lubricant selected from the group consisting of magnesium stearate, stearic acid, and

 talc; wherein said pharmaceutical dosage form exhibits equal to or less than 5% degradation of

 the tenofovir disoproxil fumarate or emtricitabine after 6 months when packaged and stored with

 silica gel dessicant at 40° C./75% relative humidity; and wherein said pharmaceutical dosage

 form is a tablet.” On information and belief, Defendants will infringe Claim 1 of the ʼ036 Patent

 because the product for which they seek approval in ANDA No. 212689 will be a fixed-dose

 tablet containing 300 mg of tenofovir disoproxil fumarate and 200 mg of emtricitabine and at

 least one of each enumerated binder, disintegrant, and lubricant, or an equivalent thereof, and

 will exhibit equal to or less than 5% degradation of the tenofovir disoproxil fumarate or

 emtricitabine after six months when packaged and stored with silica gel dessicant at 40° C./75%




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 relative humidity. For the same reasons, on information and belief, Defendants will also infringe

 other claims of the ’036 Patent.

           83.   On information and belief, the tablets containing 200 mg of emtricitabine and 300

 mg of tenofovir disoproxil fumarate for the use for which Defendants seek approval in ANDA

 No. 212689, if approved, will infringe at least one claim of the ’036 Patent, as described in the

 preceding paragraph. On information and belief, the manufacture of these tablets and use of

 these tablets to treat HIV infection will occur at Defendants’ active behest and with their intent,

 knowledge, and encouragement. On information and belief, Defendants will actively encourage,

 aid, and abet the manufacture of these tablets and use of these tablets to treat HIV infection with

 knowledge that it is in contravention of Gilead’s rights under the ’036 Patent. Further, by filing

 ANDA No. 212689 with a Paragraph IV certification, Defendants admit knowledge of the ’036

 Patent.

                                           COUNT 6
                            Infringement of U.S. Patent No. 9,744,181

           84.   Plaintiffs repeat and reallege paragraphs 1-83 above as if set forth herein.

           85.   On information and belief, Defendants submitted or caused to be submitted

 ANDA No. 212689 to the FDA seeking approval to engage in the commercial manufacture, use,

 sale, and/or importation of tablets containing 100/133/167/200 mg of emtricitabine and

 150/200/250/300 mg tenofovir disoproxil fumarate for the purpose of treating HIV infection.

           86.   In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that they

 had submitted ANDA No. 212689 to the FDA seeking approval to engage in the commercial

 manufacture, use, sale, and/or importation of tablets containing, inter alia, 200 mg of

 emtricitabine and 300 mg tenofovir disoproxil fumarate prior to the expiration of the ’181 Patent.




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 This complaint has been filed within 45 days of Plaintiffs’ receipt of the December 3, 2018

 Notice Letter.

         87.      In their December 3, 2018 Notice Letter, Defendants notified Plaintiffs that, as a

 part of ANDA No. 212689, they had filed a Paragraph IV certification with respect to the ’181

 Patent. Paragraph IV requires, inter alia, certification by the ANDA applicant, in its opinion and

 to the best of its knowledge, that the subject patent, here the ’036 Patent, “is invalid or will not

 be infringed by the manufacture, use or sale of the new drug for which the application is

 submitted . . . .”

         88.      Defendants alleged in their December 3, 2018 Notice Letter that Claims 1-5, 7-18,

 21, and 25-30 of the ’181 Patent are invalid and that Claims 6, 8-10, 12, 18-24, 26-28, and 30

 would not be infringed by the commercial manufacture, use, sale, and/or importation of their

 proposed product that is the subject of ANDA No. 212689.

         89.      Defendants did not allege in their December 3, 2018 Notice Letter that claims 1-5,

 7, 11, 13-17, 25 and 29 of the ʼ181 Patent would not be infringed by the commercial

 manufacture, use, sale, and/or importation of their proposed product that is the subject of ANDA

 No. 212689.

         90.      By filing ANDA No. 212689 under 21 U.S.C. § 355(j) for the purposes of

 obtaining approval to engage in the commercial manufacture, use, sale, and/or importation of

 tablets containing, inter alia, 200 mg of emtricitabine and 300 mg tenofovir disoproxil fumarate

 before the ’181 Patent’s expiration, Defendants have committed an act of infringement of the

 ’181 Patent under 35 U.S.C. § 271(e)(2).

         91.      Defendants’ submission of ANDA No. 212689 and service of the December 3,

 2018 Notice Letter indicates a refusal to change their current course of action.




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        92.     On information and belief, the commercial manufacture, use, sale, and/or

 importation of tablets containing 200 mg of emtricitabine and 300 mg of tenofovir disoproxil

 fumarate for which Defendants seek approval in ANDA No. 212689, if approved, will infringe

 one or more claims of the ’181 Patent.

        93.     On information and belief, Defendants will directly or indirectly infringe at least

 Claim 1 of the ʼ181 Patent. Claim 1 recites a “fixed dose combination comprising 300 mg of

 tenofovir disoproxil fumarate and 200 mg of emtricitabine wherein the combination exhibits

 equal to or less than 5% degradation of the tenofovir disoproxil fumarate and emtricitabine after

 six months at 40° C./75% relative humidity when packaged and stored with silica gel dessicant,

 and wherein the fixed-dose combination is a tablet.” On information and belief, Defendants will

 infringe Claim 1 of the ʼ181 Patent because the product for which they seek approval in ANDA

 No. 212689 will be a fixed-dose tablet containing 300 mg of tenofovir disoproxil fumarate and

 200 mg of emtricitabine and will exhibit equal to or less than 5% degradation of the tenofovir

 disoproxil fumarate and emtricitabine after six months when packaged and stored with silica gel

 dessicant at 40° C./75% relative humidity. In their December 3, 2018 Notice Letter, Defendants

 do not allege that Claim 1 would not be infringed by the commercial manufacture, use, sale,

 offer for sale, and/or importation of their proposed product that is the subject of ANDA No.

 212689. For the same reasons, on information and belief, Defendants will also infringe other

 claims of the ’181 Patent.

        94.     On information and belief, the tablets containing 200 mg of emtricitabine and 300

 mg of tenofovir disoproxil fumarate for the use for which Defendants seek approval in ANDA

 No. 212689, if approved, will infringe at least one claim of the ’181 Patent, as described in the

 preceding paragraph. On information and belief, the manufacture of these tablets and use of




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 these tablets to treat HIV infection will occur at Defendants’ active behest and with their intent,

 knowledge, and encouragement. On information and belief, Defendants will actively encourage,

 aid, and abet the manufacture of these tablets and use of these tablets to treat HIV infection with

 knowledge that it is in contravention of Gilead’s rights under the ’181 Patent. Further, by filing

 ANDA No. 212689 with a Paragraph IV certification, Defendants admit knowledge of the ’181

 Patent.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs respectfully request the following relief:

           (a)    A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’245 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;

           (b)    A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’396 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;

           (c)    A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’397 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;

           (d)    A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’264 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;


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        (e)     A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’036 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;

        (f)     A judgment declaring that the effective date of any approval of Defendants’

 ANDA No. 212689 under Section 505(j) of the Federal Food, Drug and Cosmetic Act (21 U.S.C.

 § 355(j)) be a date which is not earlier than the expiration of the ’181 Patent or any later date of

 exclusivity to which Plaintiffs are or become entitled;

        (g)     A judgment declaring that the ’245 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (h)     A judgment declaring that the ’396 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (i)     A judgment declaring that the ’397 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (j)     A judgment declaring that the ’264 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (k)     A judgment declaring that the ’036 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (l)     A judgment declaring that the ’181 Patent remains valid and enforceable, and that

 one or more claims have been infringed by Defendants;

        (m)     A permanent injunction against any infringement of the ’245 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;




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        (n)     A permanent injunction against any infringement of the ’396 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;

        (o)     A permanent injunction against any infringement of the ’397 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;

        (p)     A permanent injunction against any infringement of the ’264 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;

        (q)     A permanent injunction against any infringement of the ’036 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;

        (r)     A permanent injunction against any infringement of the ’181 Patent by

 Defendants, their officers, agents, attorneys and employees, and those acting in privity or

 contract with them;

        (s)     To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’245 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

 284;

        (t)     To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’396 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

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        (u)    To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’397 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

 284;

        (v)    To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’264 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

 284;

        (w)    To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’036 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

 284;

        (x)    To the extent that Defendants have committed any acts with respect to the subject

 matter claimed in the ’181 Patent, other than those acts expressly exempted by 35 U.S.C.

 § 271(e)(1), an award of damages for such acts, which should be trebled pursuant to 35 U.S.C. §

 284;

        (y)    Costs and expenses in this action; and

        (z)    Such other relief as this Court may deem proper.



 Dated: January 15, 2019                         Respectfully submitted,


                                                 /s/ Liza M. Walsh
                                                 Liza M. Walsh
                                                 Eleonore Ofosu-Antwi
                                                 WALSH PIZZI O’REILLY FALANGA LLP
                                                 One Riverfront Plaza



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                                       and Emory University




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 GILEAD SCIENCES, INC. and
 EMORY UNIVERSITY,

                 Plaintiffs,
                                                  Civil Action No.:
         v.
                                                  Electronically Filed
 ZYDUS PHARMACEUTICALS (USA)
 INC. and CADILA HEALTHCARE LTD.
 (d/b/a ZYDUS CADILA),

                 Defendants.



                    LOCAL CIVIL RULES 11.2 AND 40.1 CERTIFICATION

         I hereby certify that, to the best of my knowledge, the matter in controversy is not the

 subject of any other pending or anticipated litigation in any court or arbitration proceeding, nor

 are there any non-parties known to Plaintiffs that should be joined to this action. In addition, I

 recognize a continuing obligation during the course of this litigation to file and to serve on all

 other parties and with the Court an amended certification if there is a change in the facts stated in

 this original certification.


 Dated: January 15, 2019                        WALSH PIZZI O’REILLY FALANGA LLP

                                                By: /s/ Liza M. Walsh
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 GILEAD SCIENCES, INC. and
 EMORY UNIVERSITY,

                 Plaintiffs,
                                                    Civil Action No.:
         v.
                                                    Electronically Filed
 ZYDUS PHARMACEUTICALS (USA)
 INC. and CADILA HEALTHCARE LTD.
 (d/b/a ZYDUS CADILA),

                 Defendants.


                          LOCAL CIVIL RULE 201.1 CERTIFICATION

         I hereby certify that the above-captioned matter is not subject to compulsory arbitration

 in that the Plaintiffs seek, inter alia, declaratory and injunctive relief.


 Dated: January 15, 2019                          WALSH PIZZI O’REILLY FALANGA LLP

                                                  By: /s/ Liza M. Walsh
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